  Case: 1:20-cv-00014 Document #: 184 Filed: 10/07/24 Page 1 of 11 PageID #:3917




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

AHMAD POOLE (K-95348),                                 )
                                                       )
                Plaintiff,                             )
vs.                                                    )        Case No. 20 C 00014
                                                       )
DR. EVARISTO AGUINALDO.                                )        The Hon. Manish Shah.
                                                       )
                Defendant.                             )        JURY DEMANDED

                         DEFENDANT DR. EVARISTO AGUINALDO’S
                          RULE 26 (a)(3) PRETRIAL DISCLOSURES

        Pursuant to Federal Rule of Civil Procedure 26 (a)(3), Defendant Dr. Evaristo Aguinaldo

submits his pre-trial disclosures as follows:

      (i)   the name and, if not previously provided, the address and telephone number of each
            witness, separately identifying those whom the party expects to present and those
            whom the party may call if the need arises;

        Defendant Dr. Aguinaldo reserves the right to add, supplement, withdraw, or modify the

following list of witnesses, including but not limited to: (1) as part of the parties’ ongoing meeting

and conferring about pretrial preparations; (2) in response to any party’s trial witness list; or (3) in

response to the Court’s rulings and how events unfold prior to or during the trial in this case. This

witness list does not waive, and instead preserves Defendant Dr. Aguinaldo’s objections to the

admissibility of any testimony, evidence, or issue, as well as objections to the relevance of any

testimony, evidence, or issue, and rights to move for judgment or dismissal on any of Plaintiff’s

claims based on, among other grounds, the sufficiency of the evidence, if any, admitted to prove

any matter at issue with regard to liability or damages at the trial in this case. Defendant Dr.

Aguinaldo further reserve the right to elicit testimony from Plaintiff’s witnesses or representatives

who appear at trial at any time, the right not to call one or more of the trial witnesses identified
  Case: 1:20-cv-00014 Document #: 184 Filed: 10/07/24 Page 2 of 11 PageID #:3918




below, and the right to object on any ground of admissibility to the testimony of any trial witness

and move for exclusion of such testimony.

       Without waiver of the foregoing and based on presently available information and subject

to the availability of the witnesses, Defendant Dr. Aguinaldo states that he presently intends to call

the following witnesses:

   (1) Ahmad Poole – c/o counsel Maria Makar of Loevy & Loevy, 311 N. Aberdeen St. Suite 3,

       Chicago, Illinois 60607. (312) 243-5900.

   (2) Dr. Evaristo Aguinaldo, M.D. – c/o counsel Robert Tengesdal of Connolly Krause LLC,

       500 W. Madison St., Suite 3900, Chicago, Illinois 60661. (312) 466-0049.

   (3) Nurse Tina Tomaras - c/o counsel Robert Tengesdal of Connolly Krause LLC, 500 W.

       Madison St., Suite 3900, Chicago, Illinois 60661. (312) 466-0049.

   (4) Thomas Gleason, M.D. – 900 Rand Rd. Suite 200, Des Plaines, Illinois 60016. (847) 375

       – 3000.

   (5) Gerald Leef, M.D. – 2308 High Ridge Parkway, Hillside, Illinois 60162. Dr. Leef can be

       contacted through his counsel Joseph Lombardo of Cassiday Schade LLP, 222 W. Adams

       St. Suite 2900, Chicago, Illinois 60606. (312) 739-3253.

   (6) Ankit Mehta, M.D. – Dr. Mehta can be reached through his counsel Lynn M. Reid of

       Johnson & Bell, 33 W. Monroe St. unit 2700, Chicago, Illinois 60603. (312) 984-0326.

   (7) Brandon McCarter – Sheridan Correctional Center, 4017 E. 2603 Rd, Sheridan, Illinois

       60551. (815) 496-2181.

   (8) Lt. Derek Jaburek – Stateville Correctional Center, 16830 State Route 53, Crest Hill,

       Illinois 60403. (815) 727-3607.
  Case: 1:20-cv-00014 Document #: 184 Filed: 10/07/24 Page 3 of 11 PageID #:3919




   (9) Alphonso Norman – Stateville Correctional Center, 16830 State Route 53, Crest Hill,

       Illinois 60403. (815) 727-3607.

   10. Margaret Pajak, Keeper of Records, UI Health/UIC Medical Center, University of Illinois

       Hospital & Health, Health Information Mgmt., College of Pharmacy Building, Rm. B52,

       833 S. Wood Street (MC772) Chicago, Illinois 60612. (312) 996-7000.

   11. Keeper of Records, Stateville Correctional Center, 16830 South Broadway Street, P.O. Box

       112, Joliet, Illinois 60434. (815) 727-3607.

   12. Keeper of Records, Ascension St. Joseph Medical Center f/k/a Presence St. Joseph Medical

       Center, 333 North Madison St., Joliet, Illinois 60435. (815) 725-7133.

   Defendant Dr. Aguinaldo additionally reserves the right and may call the following individuals

as witnesses during trial:

       1.      Such other or further witnesses as this Defendant has identified as necessary in the
               course of discovery in this case;

       2.      Any witnesses identified by any other party in this case;

       3.      Any and all treating physicians and other healthcare providers identified in
               Plaintiff’s responses to discovery, depositions, and medical records obtained from
               said treating physicians and other healthcare providers, including but not limited to
               any and all appropriately qualified document custodians as to Plaintiff’s medical
               records;

       4.      Any putative expert witness properly identified by any party, including but not
               limited to, any putative, properly disclosed expert witnesses identified on any
               party’s trial witness list; and

       5.      Any and all witnesses necessary to provide rebuttal evidence.

       6.      Jonathon Hernandez – Danville Correctional Center, 3820 E. Main St., Danville,
               Illinois 61834. (217) 446-0441.

       Defendant Dr. Aguinaldo reserves the right to supplement, amend, and/or withdraw

witnesses from this witness list.
  Case: 1:20-cv-00014 Document #: 184 Filed: 10/07/24 Page 4 of 11 PageID #:3920




    (ii)   the designation of those witnesses whose testimony is expected to be presented by
           means of a deposition and, if not taken stenographically, a transcript of the pertinent
           portions of the deposition testimony; and

2-03-2022 Deposition of Ankit Mehta, M.D. Dr. Mehta can be reached through his counsel Lynn
M. Reid of Johnson & Bell, 33 W. Monroe St. unit 2700, Chicago, Illinois 60603. (312) 984-0326.

 5:7-24                  15:1-24                    23:2-24                   33:1-24
 6:1-24                  16:1-3; 4-5; 9-24          24:1-24                   34:1-24
 7:1-5; 11-24            15:1-24                    25:1-24                   35:1-17; 20-24
 8:1-2; 6-8; 10-22       16:1-5; 9-24               26:1-24                   36:1; 22-24
 9:1-24                  17:1-22                    27:1-5                    37:1-7
 10:1-24                 18:7-11; 20-24             28:13-24
 11:1-19; 24-            19:1-20; 22-24             29:1-24
 12:1-21                 20:1-24                    30:1-8; 15-24
 13:2-21; 23--24         21:1-21; 24-               31:1-24
 14:1-5; 7-10; 12-24     22:1-24                    32:1-24
Exhibits to Dr. Mehta deposition 1-9.

   (iii)   an appropriate identification of each document or other exhibit, including summaries
           of other evidence, separately identifying those which the party expects to offer and
           those which the party may offer if the need arises.

       In submitting his exhibit list, identified below, this Defendant reserves the right to add,

supplement, withdraw, or modify it, including but not limited to: (1) as part of the parties’ ongoing

meeting and conferring about pretrial preparations; (2) in response to any party’s exhibit list; (3)

in response to materials produced or obtained after the date of these pretrial disclosures; or (4) in

response to the Court’s rulings and how events unfold prior to or during the trial in this case. The

submission of this exhibit list also does not waive, and instead preserves, this Defendant’s

objections to the admissibility of any evidence or issue, objections to the relevance of any evidence

or issue, and rights to move for judgment or dismissal on any of Plaintiff's claims based on, among

other grounds, the sufficiency of the evidence, if any, admitted to prove any matter at issue with

regard to liability or damages at the trial in this case. This Defendant further preserves the right to

use at trial any exhibit on any party’s exhibit list, any other document that is publicly available or

has been produced or referenced during discovery in this case, including but not limited to
  Case: 1:20-cv-00014 Document #: 184 Filed: 10/07/24 Page 5 of 11 PageID #:3921




documents reviewed and relied upon by the parties’ experts, or any other documents produced or

obtained after the date of these pretrial disclosures. This Defendant further reserves the right to

object on any ground of admissibility to the presentation of any exhibit and move for exclusion of

such evidence.

Identification of each document or other exhibit that Defendant Dr. Aguinaldo expects to
offer.

 Exhibit No.      Page No.’s       Identification of document or other exhibit
 DX-0001                           Plaintiff’s Fourth Amended Complaint
 DX-0002                           Dr. Aguinaldo’s Answer and Affirmative Defenses to
                                   Plaintiff’s Fourth Amended Complaint.
 DX-0003                           Plaintiff’s Rule 26(a)(1) disclosures
 DX-0004                           Plaintiff’s Supplemental Rule 26(a)(1) disclosures
 DX-0005                           Plaintiff’s answers to Dr. Aguinaldo’s Rule 33 interrogatories
 DX-0006                           Plaintiff’s responses to Dr. Aguinaldo’s Rule 34 requests for
                                   production of documents
 DX-0007                           Plaintiff’s Rule 26(a)(2) Disclosures of October 11, 2022 –
                                   26(a)(2)(B) and 26(a)(2)(C)
 DX-0008                           Plaintiff’s Rule 26(a)(2)(B) report of John Davis, M.D.
 DX-0009                           John G. Davis, M.D. curriculum vitae
 DX-0010                           Disclosure of expert John G. Davis, M.D. expert fees
 DX-0011                           Defendant Dr. Aguinaldo’s Initial Rule 26(a)(1) disclosures
 DX-0012                           Defendant Dr. Aguinaldo’s First Supplemental Rule 26(a)(1)
                                   disclosures.
 DX-0013                           Defendant Dr. Aguinaldo’s Second Supplemental Rule
                                   26(a)(1) & (e) disclosures 7/11/2022
 DX-0014                           Defendant Dr. Aguinaldo’s answers to Plaintiff’s First set of
                                   Rule 33 interrogatories.
 DX-0015                           Defendant Dr. Aguinaldo’s answers to Plaintiff’s Second set
                                   of Rule 33 interrogatories.
 DX-0016                           Defendant Dr. Aguinaldo’s Responses to Plaintiff’s First Rule
                                   34 requests for production.
 DX-0017                           Defendant Dr. Aguinaldo’s Responses to Plaintiff’s Second
                                   Rule 34 requests for production.
 DX-0018                           Defendant Dr. Aguinaldo’s Responses to Plaintiff’s First Rule
                                   36 requests for admission.
 DX-0019                           Defendant Dr. Aguinaldo’s Rule 26(a)(2)(C) disclosures
 DX-0020                           Defendant Dr. Aguinaldo’s Amended Rule 26 (a)(2)(C)
                                   disclosures.
 DX-0021                           Defendant Dr. Aguinaldo’s Rule 26(a)(2)(B) disclosures
 DX-0022                           Defendant Dr. Aguinaldo’s Rule 26(a)(2)(B) Expert Report of
                                   Thomas Gleason, M.D.
 Case: 1:20-cv-00014 Document #: 184 Filed: 10/07/24 Page 6 of 11 PageID #:3922




DX-0023                     Thomas Gleason, M.D. curriculum vitae
DX-0024                     Thomas Gleason, M.D. testimonial history
DX-0025                     Defendant Dr. Aguinaldo’s Rule 26(a)(2)(B) Rebuttal Expert
                            Report of Thomas Gleason, M.D.
DX-0026                     Deposition of Ahmed Poole with exhibits (March 4, 2022)
DX-0027                     Deposition Evaristo Aguinaldo, M.D. Vol 1 with exhibits
                            (Jan. 25, 2022)
DX-0028                     Deposition Evaristo Aguinaldo, M.D. Vol 2 with exhibits
                            (Mar. 16, 2022)
DX-0029                     Deposition Dr. Gerald Leef with exhibits (Apr. 13, 2022).
DX-0030                     Deposition Ankit Mehta, M.D. with exhibits (Feb. 3, 2022)
DX-0031                     Deposition Tina Tomaras with exhibits (1/27/2022)
DX-0032                     Deposition Brandon McCarter with exhibits (1/28/2022)
DX-0033                     Deposition Alphonso Norman with exhibits (1/31/2022)
DX-0034                     Deposition Lt. Derek Jaburek with exhibits (2/23/2022)
DX-0035                     Deposition Jonathon Hernandez with exhibits (7/08/2022)
DX-0036                     Deposition John Davis, M.D. with exhibits (6/08/2023)
DX-0037       (78000-019)   IGRV Inmate History Ahmad Poole
              000013
DX-0038       (78000-019)   Ahmad Poole IDOC Offender Grievance Documents
              000014-
              000019
DX-0039       (78000-019)   Dept. of Corrections Disciplinary Tracking Inmate
              000147        Disciplinary Card
DX-0040       (78000-019)   IDOC Outpatient Progress Note 8/17/2017 - Stateville
              000251
DX-0041       (78000-019)   IDOC Outpatient Progress Note 8/18/2017 - Stateville
              000252
DX-0042       (78000-019)   IDOC Outpatient Progress Note 8/21/2017 - Stateville
              000253
DX-0043       (78000-019)   IDOC Outpatient Progress Note 8/24/2017 - Stateville
              000254
DX-0044       (78000-019)   IDOC Outpatient Progress Note 8/28/2017 - Stateville
              000255
DX-0045       (78000-019)   IDOC Outpatient Progress Note 8/30/2017 - Stateville
              000256
DX-0046       (78000-019)   IDOC Offender Health Status Transfer Summary 8/30/2017
              000257
DX-0047       (78000-019)   IDOC – Medication Administration Record
              000538
DX-0048       (78000-019)   IDOC – Medication Administration Record
              000544
DX-0049       (78000-019)   IDOC – Prescription Orders 8/17/2017 – 8/30/2017
              000691
 Case: 1:20-cv-00014 Document #: 184 Filed: 10/07/24 Page 7 of 11 PageID #:3923




DX-0050       (78000-019)   IDOC – Xray Report Dr. Leef 8/27/2017
              000718
DX-0051       (78000-019)   IDOC – Xray Report Dr. Leef 11/03/2017
              000719
DX-0052       (78000-019)   IDOC – Xray Report Dr. Leef 06/05/2018
              000720
DX-0053       (78000-019)   IDOC – Xray Report Dr. Leef 10/12/2018
              000722
DX-0054       (78000-019)   IDOC – Xray Report Dr. Leef 9/20/2019
              000723
DX-0055       (78000-019)   IDOC Outpatient Progress Note 6/25/2020 – Stateville
              000725
DX-0056       (78000-019)   IDOC Inmate Injury Report 3/09/07
              000738-739
DX-0057       (78000-019)   IDOC Inmate Injury Report 8/17/2017
              000749-
              000750
DX-0058       (78000-019)   IDOC Medical Special Services Referral and Report
              000751        8/30/2017
DX-0059       (78000-019)   IDOC Medical Permit
              000752
DX-0060       (78000-019)   IDOC Medical Authorization
              000767
DX-0061       (78000-019)   IDOC Medical Records Receipt
              000771
DX-0062       (78000-019)   IDOC Inmate Injury Report 9/09/2019
              000776-
              000777
DX-0063       (78000-019)   IDOC Medical Permit/Receipt
              000779
DX-0064       (78000-019)   Dept. of Corrections Disciplinary        Tracking   Inmate
              000791        Disciplinary Card
DX-0065       (78000-019)   IDOC Offender Disciplinary Report
              000792-
              000796
DX-0066       (78000-019)   Grievance Response
              000804
DX-0067       (78000-019)   IDOC Adjustment Committee Report/Offender Disciplinary
              000805-       Report
              000806
DX-0068       (78000-019)   IDOC Adjustment Committee Report/Offender Disciplinary
              000825-       Report
              000828
DX-0069       (78000-019)   Medical Director QA Emergency Reporting Form
              000430
 Case: 1:20-cv-00014 Document #: 184 Filed: 10/07/24 Page 8 of 11 PageID #:3924




DX-0070       (78000-019)   IDOC – Segregation Sick Call Rounds Chart
              000465
DX-0071       (78000-019)   St. Joseph Medical Center Note 8/30/2017
              3103
DX-0072       (78000-019)   St. Joseph Medical Center Note Transfer
              3104-3106
DX-0073       (78000-019)   St. Joseph Medical Center Note
              3119
DX-0074       (78000-019)   St. Joseph Medical Center ER Physician Documentation
              3122-3126
DX-0075       (78000-019)   St. Joseph Medical Center ER Physician Documentation
              3127-3129
DX-0076       (78000-019)   St. Joseph Medical Center CT Report
              3130-3131
DX-0077       (78000-019)   UIC Certification of Medical Records
              1349
DX-0078       (78000-019)   UIC Neurosurgery Admission History & Physical
              1351-1355
DX-0079       (78000-019)   UIC Discharge Summary
              1364-1368
DX-0080       (78000-019)   UIC Surgery/Procedure Documentation
              1392-1394
DX-0081       (78000-019)   Operative Report-Ankit Mehta, M.D.
              1438-1441
DX-0082       (78000-019)   UIC – Post Op Note
              1442
DX-0083       (78000-019)   UIC Neurosurgery Note 3/16/2018
              1435
DX-0084       (78000-019)   UIC Neurosurgery Note 10/05/2018
              1433-1434
DX-0085       (78000-019)   UIC Neurosurgery Note 11/30/2018
              1431
DX-0086       (78000-019)   UIC MRI Report 8/31/2017
              1742-1743
DX-0087       (78000-019)   UIC X-Ray Report 9/6/2017
              1741
DX-0088       (78000-019)   UIC X-Ray Report 9/29/2017
              1740
DX-0089       (78000-019)   UIC X-Ray Report 11/30/2018
              1739
DX-0090       (78000-019)   Ahmad Poole’s Illinois Department of Corrections –
              #000001-      Administrative Review Board Records
              000032
DX-0091       (78000-019)   Ahmad Poole’s Master File from Stateville Correctional
              #000033-      Center and Illinois Department of Corrections
              000837
 Case: 1:20-cv-00014 Document #: 184 Filed: 10/07/24 Page 9 of 11 PageID #:3925




DX-0092       (78000-019)   Ahmad Poole’s Medical Records from Illinois Department of
              #000838-      Corrections – Springfield
              001336
DX-0093       (78000-019)   Ahmad Poole’s Medical Records from Illinois Department of
              #001337-      Corrections – Springfield
              002041
DX-0094       (78000-019)   Ahmad Poole’s Medical Records and Correctional Facility
              #002042-      Records from State of Illinois and Illinois Department of
              003084        Corrections
DX-0095       (78000-019)   Ahmad Poole’s Medical Records from St. Joseph Medical
              #003085-      Center Joliet
              003133
DX-0096                     Ahmad Poole 8/25/2017 Cervical Spine X-rays (4) (a-d) -
                            imaging
DX-0097                     Ahmad Poole 11/01/2017 Stateville Cervical Spine X-rays -
                            imaging
DX-0098                     Ahmad Poole 06/04/2018 Stateville Cervical Spine X-rays -
                            imaging
DX-0099                     Ahmad Poole 10/10/2018 Stateville Cervical Spine X-rays -
                            imaging
DX-0100                     Ahmad Poole 04/29/2019 Stateville Cervical Spine X-rays -
                            imaging
DX-0101                     Ahmad Poole 09/18/2019 Stateville Cervical Spine X-rays -
                            imaging
DX-0102                     Ahmad Poole 08/30/2017 CT Scans/Films Imaging from St.
                            Joseph Medical Center
DX-0103                     Ahmad Poole 8/31/2017 MRI Cervical Spine Imaging
DX-0104                     Ahmad Poole 09/06/2017 UIC Cervical Spine X-rays -
                            imaging
DX-0105                     Ahmad Poole 09/29/2017 UIC Cervical Spine X-rays -
                            imaging
DX-0106                     Ahmad Poole 11/30/2018 UIC Cervical Spine X-rays -
                            imaging
DX-0107       (78000-019)   IDOC Outpatient Progress Note 03/16/2018 - Stateville
              000290
DX-0108                     Demonstrative – Anatomic Physical Model of the Spine
DX-0109                     Demonstrative – Anatomic Model of Spine (board)
DX-0110                     Demonstrative – C2-T1 Lateral View Cervical Spine (board)
DX-0111                     Demonstrative – C1-C7 Left Lateral View Cervical Spine
                            (board)
DX-0112                     Demonstrative – Cervical Spine Mid-sagittal left lateral view
                            (board)
DX-0113                     Demonstrative – posterior/anterior Cervical Spine Articular
                            Processes (board)
DX-0114                     Demonstrative – Lateral Cervical Spine depicting
                            ligaments/soft tissues (board)
 Case: 1:20-cv-00014 Document #: 184 Filed: 10/07/24 Page 10 of 11 PageID #:3926




 DX-0115                            Demonstrative – Typical Cervical Vertebrae (board)
 DX-0116                            Demonstrative – Joints of Vertebral Column Overview
                                    (board)
 DX-0117                            Demonstrative – Medical Imaging Timeline
 DX-0118                            Demonstrative – Dr. Aguinaldo Treatment Timeline
 DX-0119                            Demonstrative – Medical Treatment Timeline

Identification of each document or other exhibit that Defendant Dr. Aguinaldo may offer.


Of the above chart of documents and exhibits, Defendant Dr. Aguinaldo may offer the following

exhibits identified in the chart above (Dx 97-101; Dx 104-106).

       This Defendant reserves the right to supplement, amend, and/or withdraw exhibits from

the exhibit list submitted herein, and reserve the right to rely upon any exhibit or document for

rebuttal and/or impeachment purposes.

Date: October 7, 2024                       Respectfully submitted,

                                            CONNOLLY KRAUSE LLC

                                            /s/ Robert S. Tengesdal
                                            One of the Attorneys for Defendants


Robert S. Tengesdal #6288650
Logan N. Giaquinta #6326945
CONNOLLY KRAUSE LLC
500 West Madison Street
Suite 3900
Chicago, IL 60661
Phone: (312) 253-6200
Email(s): rtengesdal@cktrials.com
          lgiaquinta@cktrials.com
 Case: 1:20-cv-00014 Document #: 184 Filed: 10/07/24 Page 11 of 11 PageID #:3927




                                CERTIFICATE OF SERVICE

        I hereby certify that on the date set forth below, I caused the foregoing document to be
filed electronically with the Clerk of the Court through ECF and served on all counsel of record.

Dated: October 7, 2024

                                             /s/ Robert S. Tengesdal
                                             One of the Attorneys for Defendants


Robert S. Tengesdal #6288650
Logan N. Giaquinta #6326945
CONNOLLY KRAUSE LLC
500 West Madison Street
Suite 3900
Chicago, IL 60661
Phone: (312) 253-6200
Email(s): rtengesdal@cktrials.com
          lgiaquinta@cktrials.com
